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City, State, Zip - ESk, ee
907-164-6445 ANON tarep COURT
Telephone NRT AC

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

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‘(Enter full name of plaintiff in this actich) , a . |
Case No. S:IA-cy- noe Bbmns
Plaintiff,

(To be supplied by Court)
Vs.

"Reglonas Hoip bf

 

 

 

’ COMPLAINT UNDER
THE CIVIL RIGHTS ACT
a 42 U.S.C..§ 1983
; (NON-PRISONERS)
(Enter full names of defendant(s) in this action.
Do NOT use et ai.)
Defendant(s).

A. Jurisdiction

Jurisdiction is invoked under 28 U.S.C. § 1343(

a)(3) and 42 U.S.C. § 1983. If you
assert jurisdiction under any different or additional

authorities, please list them below:

B. Parties

 

'. Plaintf: This complaint alleges that the civil rights of Arye. PAH trae ryt ga
(print your name)

who presently resides at bz pms COFE tol v3 ANA. Prensrape At %45u!

(mailing address)

were violated by the actions of the individual(s) named below.

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2. Defendants (Make a copy of this page and provide same information if you are naming more than 3
defendants):

Defendant No. 1, ln, a Lhe kK El Nurse is a citizen of
(name)
(AW , and is employed as a BALL tS. @ RegunA-s /foxp. da/

(state) (defendant's government’? positiondtitie)

 

This defendant personally participated in causing my injury, and | want money
damages.

OR

A The policy or custom of this official's government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something)

Defendant No. 2, is a citizen of

 

(name)
, and is employed as a

 

(state) (defendant's government positionstitle)

 

This defendant personally participated in causing my injury, and | want money
damages.

OR
The policy or custom of this official's government agency violates my rights, and |
seek injunctive relief (to Stop or require someone do something). ,

Defendant No. 3, is a citizen of

 

(name)
, and is employed as a
(state) (defendant's government position/title)

 

 

 

This defendant personally participated in causing my injury, and | want money
- damages.
OR

The policy or custom of this official's government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

C. Causes of Action (You may attach additional pages alleging other causes of action and facts
Supporting them if necessary. Make copies of page 5 and rename them pages. 5A, 5B, etc. and Tename
the claims, “Claim 4," "Claim 5, etc."),

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Claim_1: On or about 4 9-2.0/7

(Date) -
Ligtrcal fren tick, (EOC

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, ete, List only one violation.)

was violated by do dAvie EILLemale N\wry

(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 1. State what

happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleaed in Claim 4.\:

; my civil right to

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Claim 2: On or about , my civil right to
(Date)

 

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)
was violated by

 

(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 2. State what
happened briefly and clearly, in your own words. Do: not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 2.):

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Claim_3: On or about » my civil right to
(Date)

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)

was violated by

 

(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 3.
happened briefly and clearly, in your own .words.
Describe exactly what each defendant, by name, did t

State what
Do not cite legal authority or argument.
o violate the right alleged in Claim 3.):

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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D. Previous Lawsuits

1. Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action, or otherwise relating to your imprisonment? Yes No

2. If your answer is “Yes,” describe each lawsuit.

a. Lawsuit 1:

Plaintif(s):_Annne ?. mutt: gan
Defendant(s): Ce £6) On ad /fa su +tA
Name and location of court: S fbi or t+

Docket number: ae Name of judge:

 

Approximate date case was filed: | Date of final decision:
Disposition: Dismissed Appealed | Still pending
Issues Raised: Ade a + wee, vi p/ fos of- Cwil & hi meBitAd no hGlat—

b. Lawsuit 2:

Plaintiff(s):

 

Defendant(s):

 

Name and Jocation of court:

 

Docket number: Name of judge:

 

 

Approximate date case was filed: Date of final decision:
Disposition: Dismissed _ Appealed Still pending

Issues Raised:

 

F. Request for Relief
Plaintiff requests that this Court grant the following relief:
1. Damages in the amount of $ 5b Million dollar

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2. Punitive damages in the amount of $450 eal en goilac

 

_3. An order requiring defendant(s) to Go fe SG: £OP%) Seip ty tron
4. A declaration thats EL nu re PL feted. fy zr |

5. Other: Agha Stytta. ID Diya Ft ptniwAiat, hamyb
While jntieer Gard thud/(™, NLA pylsic Cou
Plaintiff demands a trial by jury. yY_Yes No

DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury that s/he is the plaintiff
in the above action, that s/he has read the above civil rights complaint and _
- that the information contained in the complaint-is true and-eorrect.

Executed at Avy Lora | on uf. [f.x0/ 7

“ (Location) (Date)

thine. f. Auth 5
(

Plaintiffs Original Signature)

 

 

 

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Original Signatire of Attorney (if any) (Date)
“Pans (Ae
Nol E AF Aye

 

pirhorage At 9491 gyi Wed S ws

Attorney's Address and Telephone Number

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